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                    UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA



  ESROM DEMEKE CIVIL ACTION

 VERSUS

  BOARD OF SUPERVISORS OF NO.: 19-00114-BAJ-RLB
 LOUISIANA STATE UNIVERSITY AND
 A&M COLLEGE, ET AL.

                                    ORDER

      Considering the Notice of Memorandum in Support of Plaintiffs Motion

for Preliminary Injunction and Expedited Discovery (Doc. 32),

      IT IS ORDERED that Defendants file a response by November 7,2019.

      IT IS FURTHER ORDERED that an Evidentiary Hearing on the motion is

set before the undersigned on November 15, 2019 at 9:30 AM in Courtroom 2.




                         Baton Rouge, Louisiana, this   ^d.    day of October, 2019.




                                     JUDGE BRIAN A^-A^SON
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
